48 F.3d 1238NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Randall C. LANE, Petitioner,v.DEPARTMENT OF the ARMY, Respondent.
    No. 95-3116.
    United States Court of Appeals, Federal Circuit.
    Feb. 17, 1995.
    
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      65 M.S.P.R. 405.
    
    
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      PETITION REINSTATED.
    
    ON MOTION
    ORDER
    
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      Randall C. Lane's Fed.Cir.R. 15(c) statement concerning discrimination having been received and his motion for leave to proceed in forma pauperis having been granted,
    
    IT IS ORDERED THAT:
    
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      (1) The court's December 21, 1994 dismissal order is vacated, the December 21, 1994 mandate is recalled, and Lane's petition for review is reinstated.
    
    
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      (2) The Army should compute the time for filing its brief from the date of filing of this order.
    
    